













              





In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-06-00836-CR

____________


WILLIAM MICHAEL JOHNSON, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 230th District Court 

Harris County, Texas

Trial Court Cause No. 1041154






MEMORANDUM  OPINION

	Appellant, William Michael Johnson, pleaded guilty to the felony offense of
murder with an agreement from the State that his punishment would not exceed
confinement for 50 years.  The trial court sentenced appellant to confinement for 50
years.  Timely pro se notice of appeal was filed.  We dismiss for lack of jurisdiction.

	Rule 25.2(a)(2) of the Texas Rules of Appellate Procedure provides that, in a
plea-bargained case in which the punishment assessed does not exceed the plea
agreement, a defendant may appeal only those matters that were raised by written
motion filed and ruled on before trial, or after obtaining the trial court's permission
to appeal.  Tex. R. App. P. 25.2(a)(2).  We held in Threadgill v. State, 120 S.W.3d
871, 872 (Tex. App.--Houston [1st Dist.] 2003, no pet.), that an agreement to a
punishment cap is a plea agreement within the meaning of Rule 25.2(a)(2).  The
Fourteenth Court of Appeals held likewise in Waters v. State, 124 S.W.3d 825, 826
(Tex. App.--Houston [14th Dist.] 2003, pet. ref'd).

	The trial court's certification of appellant's right to appeal states that this is a
plea-bargained case and appellant has no right to appeal.  The record supports the
certification.  We must dismiss an appeal if the trial court's certification shows there
is no right to appeal.  See Tex. R. App. P. 25.2(d).

	In addition, appellant waived his right to appeal.  See Buck v. State, 45 S.W.3d
275, 278 (Tex. App.--Houston [1st Dist.] 2001, no pet.).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Chief Justice Radack, and Justices Jennings and Bland.

Do not publish.   Tex. R. App. P. 47.2(b).


